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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                 )
                                                          )                8:14CR327
                        Plaintiff,                        )
                                                          )
        vs.                                               )                 ORDER
                                                          )
DANIELLE DENNY and                                        )
JILL HARVILL,                                             )
                                                          )
                        Defendants.                       )



        This matter is before the court on the motion to continue by defendant Jill Harvill (Harvill) (Filing

No. 42). Harvill seeks a continuance of the trial scheduled for January 5, 2015. Harvill has submitted an

affidavit in accordance with paragraph 9 of the progression order whereby Harvill consents to the motion

and acknowledges she understands the additional time may be excludable time for the purposes of the

Speedy Trial Act (Filing No. 43). Harvill's counsel represents that government's counsel has no objection

to the motion. Upon consideration, the motion will be granted. Trial will be continued as to both

defendants.



        IT IS ORDERED:

        1.      Harvill's motion to continue trial (Filing No. 42) is granted.

        2.      Trial of this matter is re-scheduled for March 2, 2015, before Senior Judge Joseph F.

Bataillon and a jury. The ends of justice have been served by granting such motion and outweigh the

interests of the public and the defendant in a speedy trial. The additional time arising as a result of the

granting of the motion, i.e., the time between December 18, 2014, and March 2, 2015, shall be deemed

excludable time in any computation of time under the requirement of the Speedy Trial Act for the reason

that defendant's counsel requires additional time to adequately prepare the case. The failure to grant

additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 18th day of December, 2014.

                                                          BY THE COURT:

                                                          s/ Thomas D. Thalken

                                                          United States Magistrate Judge
